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          IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                 CENTRAL DIVISION




 UNITED STATES OF AMERICA,
       Plaintiff,                                 MEMORANDUM DECISION AND
                                                  ORDER GRANTING
                                                  DEFENDANT’S MOTION FOR
                                                  EARLY TERMINATION OF
                                                  SUPERVISED RELEASE


               vs.


 JOHN P. GAFA                                     Case No. 2:04-CR-154 TS
       Defendant.




      This matter is before the Court on Defendant’s Motion for Early Termination of

Supervised Release. The Court has consulted with the probation office. The probation

office is not opposed to the Motion. The government has not filed an objection.

                                   BACKGROUND

      On March 29, 2005, Defendant pleaded guilty to one count of Manufacture of

Methamphetamine. On June 9, 2005, Defendant was sentenced to 31 months custody

followed by 36 months supervised release and was ordered to pay a $100 special

assessment fee. Judgment was entered on June 10, 2005. Defendant was released from

the custody of the Bureau of Prisons on June 8, 2007, and began his 36-month term of

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supervised release on the same day.

                                       DISCUSSION

       If a defendant has completed at least one year of supervised release, § 3583(e)

permits the Court to terminate supervised release prior to completion of the entire term, if

the Court is satisfied that such action is 1) warranted by the conduct of the offender and

2) is in the interest of justice.1 In making this determination, the Court must consider many

of the factors set forth in 18 U.S.C. § 3553(a), to the extent they are applicable.2

       The Court has considered these factors, has reviewed the docket and case file, and

has consulted with Defendant’s supervising probation officer and reviewed a Supervision

Summary. The Court finds as follows: Defendant has been fully compliant with all the

terms of his supervised release and the directives of the probation office.            He has

maintained full-time employment, completed substance-abuse treatment, has undergone

periodic testing, and has had no violations. In addition, he has satisfied the financial

obligations imposed by the Sentence. The probation office is not opposed to the early

termination of supervision and discharge of supervised release.

       The government’s attorney has been notified, has had a reasonable opportunity to

object, and will not file an objection. Accordingly, no hearing is required.3

       1
           18 U.S.C. § 3583(e).
       2
        Id. (directing that the court consider factors set forth in § 3553(a)(1), (a)(2)(B),
(a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and (a)(7)).
       3
         Fed. R. Crim. P. 32.1(c) (hearing required to modify conditions of supervised
release unless the relief sought is favorable to defendant, does not extend the term of
his supervised release and “an attorney for the government has received notice of the
relief sought, has had a reasonable opportunity to object, and has not done so.”).

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       Based on these findings and on consideration of the applicable § 3553(a) factors,

the Court finds that early termination of Defendant’s term of supervised release is both

warranted by the conduct of the offender and is in the interest of justice.

                                      CONCLUSION

       Based upon the above, it is hereby

       ORDERED that Defendant’s Motion for Early Termination of Supervised Release

(Docket No. 140) is GRANTED; it is further

       ORDERED that Defendant’s term of supervised release shall be terminated effective

immediately.

       SO ORDERED.

       DATED this 11th day of May, 2009.

                                          BY THE COURT:


                                          ___________________________________
                                          TED STEWART
                                          United States District Judge




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